Case 2:04-cr-20104-tmp Document 42 Filed 05/09/05 Page 1 of 5 Page|D 25

 

 

 

PROB, 12
¢Rev.s/ss) ,
UNITED sTATEs DISTRICT COURT F,,_E,_j wit %___ D_C_
for 05 air ~9 Prt 3= :9
wEsTERN DISTRICT 0F TENNESSEE M-,= - ij ~ .L_;C.
'."; ‘_:\.'_ CT.
WESTERN DIVISION ‘.‘lf..l.j. f.?f -fl"i._ »\"‘;N:Hl"ilb
U.S.A. vs. DERRICK JONES Docket No. 2:04CR201_04-001

 

Petition on Probation and Supervised Release

COMES N()W FREDDIE MCMASTER ll PROBATION OFFICER OF THE COURT presenting
an official report upon the conduct and attitude of Derrick Jones who was placed on supervision by the Honorable
Tu M. Pham sitting in the Court at Memphis, TN on the §Lh_ day of _l\~/I_a§,;1 M who fixed the period of supervision
at one (l lyear*, and imposed the general terms and conditions theretofore adopted by the court and also imposed
special conditions and terms as follows:

The defendant shall pay a $1,000.00 fine (balance $1,000.00).
The defendant shall make full financial disclosure to the U.S. Probation Office.

Modifled on February l i, 2005, to include conditions that he participate in drug and alcohol testing and treatment
as directed by the Probation Office, and that fine payments be set at ten percent (10%) of his monthly gross income
to be paid by the end of each month.

*Term of Supervised Release began February 3, 2005.
RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
(PLEASE SEE ATTACHED)

PRAYING THAT THE COURT WILL ORDER a Warrant be issued for Mr. Jones to appear before the
Honorable Tu M. Pham to answer charges of violation of Supervised Rel_ease.

()RDER OF COURT I declare under penalty of perjury that the foregoing
is true and correct.

Considered and ordered this q day
of , 20[£ and ordered filed and Executed on
rds in the above case. _/V

HM U.S. Probation Officer

United States Magistrate Judge

ZJMS

      

 

 

Place: Memphis, Tennessee

Thl document entered on the docket§h,eet ln comp|ia ca
s ' f _
with Rule 55 and/or 32(b} FRCrP on § Q § _

RoB Case 2:04-cr-20104-tmp Document 42 Filed 05/09/05 Page 20f5 Page|D 26
P 12

Jones, Derrick
I)ocket No. 2:04CR20104-001
Page 2

RESPECTFULLY PRESENTING PETITION FOR ACTION ()F COURT F()R CAUSE AS F()LLOWS:

THE DEFENDANT HAS VIOLATED THE FOLLOWING CONDITIONS OF SUPERVISED R_ELEASE:

The defendant shall refrain from any unlawful use of a controlled substance and the defendant shall not
possess a controlled substance.

Mr. Jones used a controlled substance as evidenced by a positive screen for cocaine on February 9, 2005.

The defendant shall participate in drug and alcohol testing and treatment as directed by the Prohation
Office.

On April 13, 2005 , Mr. J ones was referred to the Memphis Alcohol and Drug Council (MADC) to begin drug testing
and treatment He failed to attend scheduled intake appointments on April 19 and 25, 2005, and missed random
drug screens on April l8 and 25, 2005.

The defendant shall report to the probation officer and shall submit a truthful and complete written report
within the first five days of each month.

Mr. Jones has failed to submit monthly reports for February, Ma.rch, and April 2005.

2:04- r-20104-tm Document42 Filed 05/09/05 PageSoiB Page|D 27
ease C p vioLATioN woRKsHEET

 

 

 

 

l. Defendant Derricl< Jones 3035 Ca]vert Memnhis. TN 38108
2. Docket Number (Year-Sequence-Defendant No.) 2:04CR20104-001
3. Districthftice Western District of Tennessee (Memnhisl
4. Original Sentence Date 05 06 04
month day year

Hfd:)yferenr than above):

5. Original District/Office

 

6. Original Docket Number (Year-Sequence-Defendant No-)

 

7. List each violation and determine the applicable grade {se_§ §7131. l }:

 

 

 

 

 

 

 

 

 

Violation{s} Grade
Usage of a controlled substance (cocaine) B
Failure to participate in drug testing/treatment C
Faiiure to submit monthly report forms C
8. Most Serious Grade of Violation (§@ §7Bl . l(b) B
9. Criminal History Category (§_e_e §7B1.4(a))74 VI
10. Range of imprisonment (Ye_ §713|.4(a)) 21-27 months*

 

 

 

 

*Being originally convicted of a Class A misdemeanor, the statutory maximum term of imprisonment is I2 months; 18 U.S.C. §3583(e)(3).

l l. Sentencing Options for Grade B and C violations On]y (Check the appropriate box):

{ } (a)lf the minimum term of imprisonment determined under §7B1.4{Ter_m of lmprisonment) is at least one month
but not more than six months, §7B1.3(c) (1) provides sentencing options to imprisonment

{ } (b)lf the minimum term of imprisonment determined under §713 1.4(Tenn of Imprisonment) is more than six
months but not more than ten months, §7B1.3(c) {2) provides sentencing options to imprisonment

{X} (c)lf the minimum term of imprisonment determined under §7B1.4(Term of Imprisonment) is more than ten

months, no sentencing options to imprisonment are available

Mail documents to: United States sentencing Commission, 1331 Pennsylvania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

Case 2:O4-cr-20lO4-tmp Document 42 Filed 05/09/05 Page 4 of 5 Page|D 28
Defendant Derrick Jones Docket#2:04CR20104-00]

12. Unsatisfied Conditions of Original Sentence

List any restitution, fine, community confinement, home detention, or intermittent confinement previously imposed in connection with
the sentence for which revocation is ordered that remains unpaid or unserved at the time of revocation {§@ §7Bl.3(d)}:

 

 

 

 

Rcstitution ($) NfA Community Conf`mement N/A
Fine ($) 1,000.00 Home Detention N/A
Other N/A Intermittent Continement N/A

 

 

13. Supervised Release

lf probation is to be revoked, determine the length, if any, of the term of supervised release according to the provisions ot`§§SDl .1 -
1-3{&§§§7131-3(.%)(1)}-

Term: N/A to N/A years
if supervised release is revoked and the term of imprisonment imposed is less than the maximum term of imprisonment impossible
upon revocation, the defendant may, to the extent permitted by law, be ordered to recommence supervised release upon release from
imprisonment {E 18 U.S.C. §3583(e) and §7Bl.3(g)(2)}.

Period of supervised release to be served following release from imprisonment

 

14. Departure

List aggravating and mitigating factors that may warrant a sentence outside the applicable range of imprisonment:

 

 

 

 

 

 

 

 

 

 

 

15. Officia| Detention Adjustment {§e_e §7B1.3(e)}: months days

Mail documents to: United States Sentencing Commission, 1331 Pennsylvania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

   
 

  
 

   

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UNITED sTTES DISTICT COURT - WESTRNE D"ITRCIT 0 TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 2:04-CR-20104 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

.l Patten Brovvn

FEDERAL PUBLIC DEFENDER
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Ste. 200

l\/lemphis7 TN 38103

Kristen Coyne

US DEPARTl\/lENT OF .TUSTICE
5722 lntegrity Dr.

Millington, TN 38054

Honorable Tu Pham
US DISTRICT COURT

